         Case 3:20-cr-00347-SCC Document 37 Filed 10/28/21 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA                        Criminal no. 20-347 (SCC)
   Plaintiff,
                 v.

 KENNETH TOSADO PEREZ
   Defendant.

           MOTION REQUESTING AUTHORIZATION TO FILE CJA VOUCHER
TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Tosado Pérez, and respectfully states and prays as follows:

   1. The undersigned was appointed to represent Mr. Tosado Perez under the Criminal Justice

       Act on October 28, 2020. (See Docket Entry # 4)

   2. On October 27, 2021, attorney Vázquez Torres filed her Notice of Appearance on behalf

       of Mr. Tosado Pérez. (See Docket Entry #35)

   3. A motion to withdraw has been filed by the undersigned. (See Docket #36).

   4. The following motion seeks authorization from the Court to file a CJA Payment Voucher

       since authorization is required from the presiding officer if a voucher is filed before the

       entry of judgment.

   5. This case is still pending resolution.

       WHEREFORE, the undersigned respectfully requests that the Court takes note of the

present motion and authorize the Motion for Authorization to File CJA Voucher.

       RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico, this 28th day of October 2021.

   I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.
Case 3:20-cr-00347-SCC Document 37 Filed 10/28/21 Page 2 of 2




                    s/ Diego H. Alcalá Laboy
                     Diego H. Alcalá Laboy
                          PO Box 12247
                       Tel.: (787) 432-4910
                     USDC-PR No. 300504
                  dalcala@defensorialegal.com
